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 8                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 9                                         AT SEATTLE

10

11        UNITED STATES OF AMERICA,                           CASE NO. CR22-001 TL
12                              Plaintiff,
                v.
                                                              ORDER GRANTING MOTION TO
                                                              SEAL MOTION TO ADMIT
13
          SHABNAM DAWN PILISUK,                               EVIDENCE UNDER FRE 404(B)
14                                                            AND 414
                                Defendant.
15

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17          This matter comes before the Court on the Government’s renewed motion to seal its

18   motion to admit evidence under Federal Rules of Evidence 404(b) and 414. Dkt. No. 75. As the

19   motion is unopposed and sets forth the applicable legal standard and reasons for sealing—

20   specifically, the sensitive nature of the investigation and inclusion of information identifying a

21   minor victim—the Court GRANTS the motion to seal.

22   //

23   //

24   //


     ORDER GRANTING MOTION TO SEAL MOTION TO ADMIT EVIDENCE UNDER FRE 404(B) AND 414 - 1
             Case 2:22-cr-00001-TL         Document 77       Filed 01/20/23      Page 2 of 2




 1          The Clerk of Court is ORDERED to maintain the motion (Dkt. No. 55) and the attached

 2   exhibits under seal permanently.

 3          Dated this 20th day of January 2023.

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                                                         A
                                                         Tana Lin
                                                         United States District Judge
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     ORDER GRANTING MOTION TO SEAL MOTION TO ADMIT EVIDENCE UNDER FRE 404(B) AND 414 - 2
